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 1   CRAVATH, SWAINE & MOORE LLP
     Antony L. Ryan (pro hac vice)
 2   Kevin J. Orsini (pro hac vice)
 3   Lauren M. Rosenberg (pro hac vice)
     Worldwide Plaza
 4   825 Eighth Avenue
     New York, New York 10019
 5   Tel.: (212) 474-1000
     Fax: (212) 474-3700
 6   aryan@cravath.com
 7   korsini@cravath.com
     lrosenberg@cravath.com
 8
     QUINN EMANUEL URQUHART & SULLIVAN LLP
 9   Michael E. Liftik (CA Bar No. 232430)
     Sarah Heaton Concannon (pro hac vice)
10   1300 I Street, Suite 900
     Washington, D.C. 20005
11
     Telephone: (202) 538-8000
12   michaelliftik@quinnemanuel.com
     sarahconcannon@quinnemanuel.com
13

14   [Additional Counsel on Signature Page]

15   Counsel for Defendants Dfinity USA Research LLC, Dfinity Foundation, and Dominic Williams

16                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
17

18   DANIEL VALENTI, Individually and On Behalf          Case No.: 3:21-cv-06118-JD
     of All Others Similarly Situated,
19                                                       DEFENDANTS’ MOTION TO
                                 Plaintiff,              DISMISS AND MEMORANDUM OF
20                                                       POINTS AND AUTHORITIES IN
               v.                                        SUPPORT
21

22   DFINITY USA RESEARCH LLC, DFINITY                   Date:            July 14, 2022
     FOUNDATION and DOMINIC WILLIAMS,                    Time:            10:00 a.m.
23                                                       Courtroom:       11, 19th Floor
                                 Defendants.             Judge:            Hon. James Donato
24

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        DEFENDANTS’ MOTION TO DISMISS AND MEMORANDUM OF POINTS AND AUTHORITIES IN
                                         SUPPORT
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 1                                NOTICE OF MOTION AND MOTION
 2   TO THE HONORABLE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
 3             PLEASE TAKE NOTICE that on July 14, 2022, at 10:00 a.m., or as soon thereafter as

 4   counsel may be heard, in the courtroom of the Honorable James Donato, 450 Golden Gate Ave.,

 5   San Francisco, CA 94102, Courtroom 11, 19th Floor, Defendants Dfinity USA Research, LLC,

 6   Dfinity Foundation, and Dominic Williams (together, “Defendants”) will and do hereby move

 7   the Court for an order dismissing the Amended Class Action Complaint (ECF No. 45; the

 8   “Complaint”) brought by Plaintiff Daniel Valenti and Lead Plaintiff Henry Rodriguez (together,

 9   “Plaintiffs”).

10             This motion is made pursuant to Federal Rule of Civil Procedure 12(b)(6) and is based on

11   the following ground: the Complaint fails to state a claim for relief under Sections 12(a)(1) or 15

12   of the Securities Act of 1933, 15 U.S.C. §§ 77l(a)(1), 77o (“Securities Act”), or under Sections

13   10(b), 20A, or 20(a) of the Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. §§ 78j(b), 78t-1,

14   78t(a).

15             This motion is based upon this Notice of Motion and the Memorandum of Points and

16   Authorities in Support filed herewith, the pleadings and documents on file in this case, and other

17   such arguments as may be presented by counsel at the hearing on this motion.

18
                                          ISSUE TO BE DECIDED
19
20             Whether the Complaint should be dismissed under Fed. R. Civ. P. 12(b)(6) because, even
21   if the allegations in the Complaint are taken as true, it fails to state a claim under Sections
22   12(a)(1) or 15 of the Securities Act or under Sections 10(b), 20A, or 20(a) of the Exchange Act.
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                                          SUPPORT
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 1            Dfinity USA Research LLC (“Dfinity USA”), Dfinity Foundation (the “Foundation,” and,

 2   together with Dfinity USA, “Dfinity”), and Dominic Williams (“Mr. Williams,” and together with

 3   Dfinity, “Defendants”) respectfully submit this Memorandum of Law in Support of Their Motion

 4   to Dismiss the Amended Class Action Complaint (ECF No. 45) (the “Complaint”) pursuant to

 5   Federal Rule of Civil Procedure 12(b)(6) for failure to state claims under Sections 12(a)(1) and 15

 6   of the Securities Act of 1933, 15 U.S.C. §§ 77l(a)(1), 77o (“Securities Act”), and Sections 10(b),

 7   20A, and 20(a) of the Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. §§ 78j(b), 78t-1, 78t(a).

 8   I.       PRELIMINARY STATEMENT

 9            Plaintiffs seek to invoke the federal securities laws as an insurance policy against their

10   purported losses on opportunistic purchases and sales of ICP tokens. The federal securities laws

11   offer no such protection. The core premise of Plaintiffs’ claims is that ICP tokens are securities.

12   Defendants vigorously contest that premise. That question is not presented by this motion,

13   however, because Plaintiffs’ Securities Act claims are barred by the statute of repose, and both

14   Plaintiffs’ Securities Act and Exchange Act claims are insufficient as a matter of law.

15            First, Plaintiffs’ Securities Act claims should be dismissed because ICP tokens were first

16   offered to the public in February 2017 (¶ 36 1)—more than three years before this action was filed

17   in August 2021. Accordingly, the applicable three-year statute of repose has run, and Plaintiffs’

18   Securities Act claims must be dismissed as untimely. Additionally, Plaintiffs allege no facts

19   supporting the contention that either Dfinity USA or the Foundation was a “statutory seller”—a

20   requisite element of their Securities Act Section 12(a)(1) claim. Specifically, Plaintiffs do not

21   allege that any Defendant directly passed title to them, or that any Defendant actively and directly

22   solicited them, resulting in their purchases of ICP tokens. These pleading defects are fatal to

23   Plaintiffs’ Securities Act claims.

24            Second, Plaintiffs’ Exchange Act claims should be dismissed for failure to meet the

25   exacting pleading standards under the Private Securities Litigation Reform Act (“PSLRA”), 15

26   U.S.C. § 78u-4(b)(1)(B), and Federal Rule of Civil Procedure 9(b). With respect to Plaintiffs’

27        1
            Throughout, all references to “¶ __” are to the Complaint, all emphasis is added, and all
28   quotations and citations are omitted unless otherwise noted.
                                                     -1-
          DEFENDANTS’ MOTION TO DISMISS AND MEMORANDUM OF POINTS AND AUTHORITIES IN
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 1   misrepresentation claims, Plaintiffs do not allege any actionable materially false or misleading

 2   statement. Each statement to which Plaintiffs point was true when made, and any allegedly

 3   concealed facts were disclosed. Plaintiffs likewise fail to plead scienter. Under well-established

 4   Supreme Court precedent, “[a]n inference of scienter must be more than merely plausible or

 5   reasonable—it must be cogent and at least as compelling as any opposing inference of

 6   nonfraudulent intent.” Tellabs, Inc. v. Makor Issues & Rts., Ltd., 551 U.S. 308, 314 (2007). Here,

 7   Plaintiffs’ Complaint rests on speculative and conclusory allegations about Defendants’ motives

 8   and intent that are insufficient as a matter of law to give rise to a “cogent” or “compelling”

 9   inference of scienter. Moreover, Plaintiffs do not plead specific facts establishing that any

10   purported action by Defendants caused Plaintiffs’ alleged losses (i.e., Defendants do not plead loss

11   causation). Plaintiffs’ Exchange Act claims therefore must be dismissed, because the federal

12   securities laws do not “provide investors with broad insurance against market losses.” Dura

13   Pharms., Inc. v. Broudo, 544 U.S. 336, 345 (2005).                With respect to Plaintiffs’ market

14   manipulation claim, Plaintiffs wholly fail to allege that Defendants engaged in any manipulative

15   or deceptive act and also fail to plead the requisite scienter.

16             This Court should dismiss the Complaint in its entirety. And, because the Complaint’s

17   untimeliness cannot be cured, the Court should dismiss Plaintiffs’ Securities Act claims without

18   leave to amend.

19   II.       STATEMENT OF FACTS 2
20             Dfinity is engaged in the development of a decentralized version of the internet (the
21   “Internet Computer”). ¶¶ 5, 36. The Internet Computer is a blockchain-based network that can
22   run “smart contracts at web speed, that can serve web directly to users, that can increase its capacity
23   with demand as needed, that is efficient, that governs itself, and that can provide better usability
24   than those systems built on traditional technology.”          ¶¶ 5, 49.    ICP tokens are used for
25   computational, governance, and other purposes on the Internet Computer. In February 2017 (more
26   than three years before this Action was filed), Dfinity conducted a public “crowdsale,” or “seed
27
           2
               The following facts are drawn from Plaintiffs’ Complaint and are accepted as
28   true for purposes of this motion to dismiss only.
                                                        2
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 1   round,” to fund development of the Internet Computer. ¶ 36. Hundreds of purchasers participated

 2   in this February 2017 crowdsale, receiving over 115 million ICP tokens—24.72 percent of all ICP

 3   tokens. ¶¶ 54, 91. In May 2018, a “Community Airdrop” took place, during which over 3.7 million

 4   tokens were allocated to over 50,000 additional participants. ¶¶ 54, 77.

 5          Following the first public offering of ICP tokens in February 2017, Defendants periodically

 6   provided public updates (in publicly accessible statements, interviews, and news articles) on the

 7   development status and potential benefits of the Internet Computer. ¶¶ 41-49, 53, 57-58. In 2018,

 8   more than three years before Genesis, Defendants spoke publicly about predictions for Genesis

 9   and early ICP token purchasers. For example, Defendants provided opinions as to the division of

10   control of ICP tokens. ¶ 91. Thereafter, Defendants continued to publicly recommend the Internet

11   Computer. To protect the integrity of ICP tokens, Defendants established and disclosed lockup

12   periods and vesting requirements for certain categories of purchasers and insiders.            ¶ 56.

13   Defendants specifically told the public before Genesis that the February 2017 seed round

14   participants were subject to certain vesting requirements, and that a separate but related entity—

15   the Internet Computer Association (“ICA”)—would own a percentage of ICP tokens at Genesis.

16   ¶¶ 54-56. Plaintiffs do not allege that the ICA was subject to a lockup period or other restrictions.

17          In May 2021, Mr. Williams—the Foundation’s founder—made statements in interviews,

18   some of which were republished in news articles, regarding the progress that had been made on

19   the Internet Computer. ¶¶ 41-49. On May 10, 2021, Dfinity completed the Genesis release of the

20   Internet Computer, and—as is common—ICP tokens were listed on cryptocurrency platforms such

21   as Binance and Kucoin. ¶ 50. At Genesis, Defendants told the public that there would be vesting

22   restrictions on certain purchasers, including seed round and Airdrop participants, among others.

23   ¶¶ 70-71, 92. Defendants also reminded ICP purchasers that “the [F]oundation and key early team

24   members were locked up at launch for a week[.]” ¶ 95. Indeed, Plaintiffs do not allege that

25   Mr. Williams himself sold ICP tokens at any time during the Class Period. Instead, Plaintiffs

26   allege only that Mr. Williams stated during a September 25, 2021 interview—months after the end

27   of the Class Period—that he had sold ICP tokens at some unspecified prior time. See ¶ 112. In

28   response to unfounded accusations that certain Dfinity insiders had sold ICP tokens (contrary to
                                                       3
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 1   the lockup periods), Mr. Williams assured the public that this was not the case. ¶¶ 95-100. Indeed,

 2   as Plaintiffs acknowledge, people and entities other than Defendants (i.e., third parties) held ICP

 3   tokens that were not subject to restrictions, and these third parties did sell ICP tokens during the

 4   Class Period. ¶ 179(h)-(j). 3 As Plaintiffs also acknowledge, a significant number of the ICP token

 5   sales that occurred at and immediately after Genesis were by former Dfinity employees, who were

 6   not subject to any lockup periods. ¶¶ 100, 103. Around the same time, Defendants also instituted

 7   a “Cash-in-Lieu-of-Tokens” benefit program for its employees, whereby Dfinity would buy its

 8   employees’ ICP tokens. ¶¶ 64-65.

 9              Beginning in May 2021, Plaintiffs made several purchases of ICP tokens. Plaintiffs do not

10   plead any reliance on representations by Defendants. See ¶¶ 13-14. Since Genesis, the digital

11   asset market remains volatile. Accordingly, the price of ICP tokens has fluctuated and, ultimately,

12   fallen significantly, giving rise to Plaintiffs’ opportunistic action on behalf of a purported class of

13   purchasers between May 10, 2021 and the present. ¶¶ 104-08.

14   III.       LEGAL STANDARD
15              A Rule 12(b)(6) motion tests the legal sufficiency of the claims asserted in the complaint.

16   See In re Terravia Holdings, Inc. Sec. Litig., No. 16-CV-06633-JD, 2020 WL 553939, at *2 (N.D.

17   Cal. Feb. 4, 2020). In construing the Complaint, the Court “need not accept as true allegations

18   that are merely conclusory, unwarranted deductions of fact, or unreasonable inferences.” Id.

19   “While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed factual

20   allegations . . . , a plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’

21   requires more than labels and conclusions, and a formulaic recitation of the elements of a cause of

22   action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).

23   IV.        PLAINTIFFS’ SECURITIES ACT CLAIMS SHOULD BE DISMISSED
24              A.     Plaintiffs’ Securities Act Claims Are Barred by the Statute of Repose
25              Plaintiffs’ claims under Sections 12(a)(1) and 15 of the Securities Act are time-barred
26   under Section 13’s statute of repose and should be dismissed. See 15 U.S.C. § 77m (“In no event
27
            3
         Throughout the Complaint, Plaintiffs improperly use the term “insiders” to refer to “Dfinity
28   USA and Dfinity’s current and former team members.” See, e.g., ¶ 179(a), (b), (d), (e), (h)-(j).
                                                         4
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 1   shall any such action be brought to enforce a liability created under section 77k or 77l(a)(1) of this

 2   title more than three years after the security was bona fide offered to the public[.]”). 4 The statute

 3   of repose is an absolute outer limit on liability and is not subject to equitable tolling. CTS Corp.

 4   v. Waldburger, 573 U.S. 1, 8 (2014); see also Cal. Pub. Emps.’ Ret. Sys. v. ANZ Sec., Inc., ___

 5   U.S. ____, 137 S. Ct. 2042, 2051-53 (2017) (holding that the tolling rule espoused in American

 6   Pipe & Constr. Co. v. Utah, 414 U.S. 538 (1974), does not apply to statutes of repose).

 7           Courts have held that for a sale of alleged unregistered securities “the three-year period

 8   begins when the security is first bona fide offered.” P. Stolz Fam. P’ship L.P. v. Daum, 355 F.3d

 9   92, 100, 102-03, 106 (2d Cir. 2004); see also Yates v. Mun. Mortg. & Equity, LLC, 744 F.3d 874,

10   896 (4th Cir. 2014) (“The Second Circuit’s opinion in P. Stolz is the leading authority on the term

11   ‘bona fide offered to the public’ in § 13.”). In Stolz, the Second Circuit expressly rejected a “last

12   offered” rule, under which the statute of repose would start over again each time a defendant

13   offered securities to the public. 355 F.3d at 100-06. The court also explained that the term “bona

14   fide” means that the security was “really and truly (genuinely) being offered to the public, as

15   opposed to, say, a simulated offering.” Id. at 99.

16           In Stolz itself, for example, the district court dismissed the plaintiff’s Section 12(a)(1) claim

17   (brought in 2001), because the defendant first offered those securities to the public in 1997, even

18   though the plaintiff did not purchase until 2000. The Second Circuit affirmed the district court’s

19   dismissal of the action under the statute of repose, because “the defendant bona fide offered to the

20   public the security at issue in the present case in July of 1997 . . . . Stolz’s § 12(a)(1) claim was

21   filed more than three years after . . . and is therefore barred by § 13’s statute of repose.” Id. at 106.

22   This means that, as here, “a repose period can run to completion even before injury has occurred

23   to a potential plaintiff, extinguishing a cause of action before it even accrues.” Id. at 103; see also

24   Smith v. LifeVantage Corp., No. 2:18-cv-00621-DBB-JCB, 2020 WL 6940735, at *3-4 (D. Utah

25
         4
26          Plaintiffs also purport to bring a claim under Securities Act Section 5, 15 U.S.C. § 77e.
     ¶¶ 22, 153-56. But there is no separate, independent private right of action under Section 5. See
27   Pinter v. Dahl, 486 U.S. 622, 641 (1988) (construing Securities Act Section 12(1) to create a
     private right of action for violations of Section 5); see also Pub. L. No. 104-67, § 105, 109 Stat.
28   737, 757 (1995) (Securities Act Section 12(1) is now Section 12(a)(1)).
                                                         5
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 1   Nov. 25, 2020) (similar); Footbridge Ltd. Tr. v. Countrywide Fin. Corp., 770 F. Supp. 2d 618, 627

 2   (S.D.N.Y. 2011) (holding Section 12(a)(2) claim barred). 5

 3           Plaintiffs’ own allegations make clear that Dfinity’s first bona fide offering of ICP tokens

 4   to the public was a “crowdsale” or “seed round” in February 2017—more than three years before

 5   this action commenced on August 9, 2021. ¶ 36 (detailing “early ICP fundraising,” stating that

 6   “[t]he first sale occurred in February 2017,” and describing the offering as a public “crowdsale (or

 7   ‘seed round’[)]” with “78% of the ICP created for the network . . . earmarked for [seed and main]

 8   investors”). Plaintiffs allege that 370 contributors—“a large number”—participated in the seed

 9   round, receiving over 115 million ICP tokens (about 25% of all tokens created). ¶¶ 54, 77, 91.

10   Plaintiffs also expressly distinguish the “outside investors” in the February 2017 seed round from

11   “likely insiders” and “insiders.” ¶ 77. Because the February 2017 “first sale”—which resulted in

12   sales of 115 million ICP tokens to 370 participants—was “really and truly (genuinely) being

13   offered to the public,” Stolz, 355 F.3d at 99, it was the first bona fide public offering and started

14   Section 13’s three-year clock. Plaintiffs’ claims (asserted for the first time on August 9, 2021),

15   are barred by the three-year statute of repose and should be dismissed without leave to amend.

16           B.      Plaintiffs Do Not Adequately Allege Any Defendant Was a “Statutory Seller”

17           Liability under Section 12(a)(1) of the Securities Act is limited to the narrow set of

18   defendants who are “statutory sellers,” that is “those who offer or sell unregistered securities.”

19   Pinter v. Dahl, 486 U.S. 622, 641-42 (1988). A defendant is a “statutory seller” “in only two

20   circumstances: (1) if the defendant directly passed title of the security to the plaintiff; or (2) if the

21   defendant directly solicited the sale of the security and is motivated in part to serve [its] own

22   financial interests or the financial interests of the securities owner.” Welgus v. TriNet Grp., Inc.,

23   No. 15-cv-03625-BLF, 2017 WL 167708, at *22 (N.D. Cal. Jan. 17, 2017) (citing Pinter, 486 U.S.

24

25       5
            See also Thomas Lee Hazen, The Law of Securities Regulation § 7.10[4], at 666-67 (4th ed.
26   2002) (“[I]n the case of a slow offering, it is conceivable that the cause of action would be
     foreclosed before it even arises.”); J. William Hicks, Civil Liabilities: Enforcement and Litigation
27   Under the 1933 Act § 5:50 (2002) (“[A] plaintiff seeking relief under § 12(a)(1) must establish . . .
     that the filing occurred within three years after the security was first bona fide offered to the
28   public.”).
                                                         6
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 1   at 624, 646-48). Plaintiffs do not meet either Pinter prong.

 2                  1.      Plaintiffs Do Not Allege That Any Defendant Passed Title to Them
 3          Under Pinter’s first prong, Plaintiffs must allege that one of the Defendants was their

 4   “immediate seller,” and passed title in ICP tokens (the alleged securities) directly to Plaintiffs.

 5   Pinter, 486 U.S. at 644 n.21; see also Pino v. Cardone Cap., LLC, No. 20-cv-8499-JFW (KSx),

 6   2021 WL 3502493, at *16 (C.D. Cal. Apr. 27, 2021) (no privity because no allegation “that either

 7   [defendant] passed title to the securities to Plaintiff”); Primo v. Pac. Biosciences of Cal., Inc., 940

 8   F. Supp. 2d 1105, 1125 (N.D. Cal. 2013) (no privity with issuer because “securities at issue were

 9   sold through a firm commitment underwriting, in which title passed to the Underwriter Defendants

10   before passing to the ultimate purchasers”). Here, Plaintiffs do not allege—in even a conclusory

11   fashion—that any Defendant passed title to ICP tokens to them. Indeed, Plaintiffs do not allege

12   why or from whom they purchased. ¶¶ 13-14. Plaintiffs do allege, however, that people and

13   entities other than Defendants (i.e., third parties) held ICP tokens that were not subject to

14   restrictions, and that these third parties in fact sold ICP tokens during the Class Period.

15   ¶ 179(h)-(j). Thus, there is no basis to draw even the unstated inference that Plaintiffs purchased

16   ICP tokens from Defendants. Plaintiffs do not meet Pinter’s first prong.

17                  2.      Plaintiffs Do Not Allege That Defendants Directly Solicited Their
                            Purchases
18

19          In the absence of any allegation that any Defendant passed title to Plaintiffs, Plaintiffs must

20   adequately allege, under Pinter’s second prong, that Defendants (i) “actively and directly

21   solicit[ed] the plaintiff’s investment” and (ii) that such solicitation caused Plaintiffs’ investments.

22   Pino, 2021 WL 3502493, at *16-17. Plaintiffs do not do so.

23          First, Plaintiffs do not allege that any defendant “personally or directly solicited” them. In

24   re Infonet Servs. Corp. Sec. Litig., 310 F. Supp. 2d 1080, 1102 (C.D. Cal. 2003). Plaintiffs do not

25   “include [the] very specific allegations of solicitation, including direct communication with

26   Plaintiffs,” required by law. Maine State Ret. Sys. v. Countrywide Fin. Corp., No. 2:10-cv-0302-

27   MRP, 2011 WL 4389689, at *10 (C.D. Cal. May 5, 2011); see also, e.g., XOMA Corp. Sec. Litig.,

28   No. C-91-2252 TEH, 1990 WL 357807, at *8 (N.D. Cal. Dec. 27, 1991) (dismissing because
                                                        7
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 1   plaintiffs “do not allege that any particular defendants solicited any particular plaintiff” (emphasis

 2   original)). To the contrary, Plaintiffs rely solely on alleged public statements (such as online social

 3   media posts and public interviews) to cobble together a solicitation claim. See ¶¶ 41-49, 53, 57-

 4   58. Courts regularly dismiss claims for failure to plead solicitation where, as here, plaintiffs allege

 5   no more than that a defendant “publicly recommend[ed] a security.” Pino, 2021 WL 3502493, at

 6   *16-17; see also Maine State Ret. Sys., 2011 WL 4389689, at *10 (“[B]eing merely a substantial

 7   factor in causing the sale of unregistered securities is not sufficient[.]”); Hudson v. Sherwood Sec.

 8   Corp., No. C-86-20344-WAI, 1989 WL 108797, at *1-2 (N.D. Cal. July 27, 1989) (allegations

 9   that defendant made “public presentation[s] describing and recommending an investment”

10   insufficient), aff’d, 951 F.2d 360 (9th Cir. 1991); In re CytRx Corp. Sec. Litig., No. CV-14-1956-

11   GHK (PJWx), 2015 WL 5031232, at *15 (C.D. Cal. July 13, 2015) (“Even participation in road

12   shows to promote the sale of stock does not constitute active solicitation under Pinter.”).

13          Second, Plaintiffs fail to allege that any purported solicitation caused their purchases of

14   ICP tokens. Indeed, Plaintiffs do not even allege that they were aware of any solicitation. To the

15   contrary, Plaintiffs allege facts consistent with independent and personal efforts to gamble on the

16   ups and downs of the market. See ¶¶ 13-14 (alleging Plaintiff Valenti made at least 23 separate

17   purchases of ICP and Lead Plaintiff Rodriguez made at least seven separate purchases).

18          Because Plaintiffs have not alleged that Defendants personally and directly solicited them,

19   and have not alleged that any such solicitation caused their purchases of ICP tokens, their Section

20   12(a)(1) claim fails as a matter of law. See, e.g., Pino, 2021 WL 3502493, at *17 (“Plaintiff does

21   not allege that [either defendant] was directly and actively involved in soliciting Plaintiff’s

22   investment, or that Plaintiff relied on such a solicitation when investing.”); Holsworth v. BProtocol

23   Found., No. 20 Civ. 2810 (AKH), 2021 WL 706549, at *3 (S.D.N.Y. Feb. 22, 2021) (dismissing

24   Section 12(a)(1) claim where plaintiff failed to allege “that he purchased [crypto tokens] as a result

25   of any active solicitations by Defendants”); Rensel v. Centra Tech, Inc., No. 17-24500-CIV, 2019

26   WL 2085839, at *4 (S.D. Fla. May 13, 2019) (dismissing Section 12(a)(1) claim relating to crypto

27   tokens in the absence of allegations that purported solicitation on Twitter “was a successful

28   solicitation . . . or that Plaintiffs even saw the posts”); Griffin v. PaineWebber, Inc., No. 99 Civ.
                                                        8
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 1   2292 (VM), 2001 WL 740764, at *2 (S.D.N.Y. June 29, 2001) (“[Plaintiff] must allege not only

 2   that [defendant] actively solicited investors with respect to this transaction but that [plaintiff]

 3   purchased securities as a result of [defendant’s] solicitation.”).

 4                                                    ****

 5           Plaintiffs’ Securities Act claims are both untimely and insufficient as a matter of law and

 6   should be dismissed.

 7   V.      PLAINTIFFS’ EXCHANGE ACT CLAIMS SHOULD BE DISMISSED

 8           A.      Plaintiffs’ Section 10(b) And Rule 10b-5 Claim For Allegedly Materially False
                     And Misleading Statements Should Be Dismissed
 9

10           To state a misrepresentation claim under Exchange Act Section 10(b) and Rule 10b-5,

11   Plaintiffs must allege, inter alia: (i) a material misrepresentation or omission; (ii) scienter; and (iii)

12   loss causation. See Prodanova v. H.C. Wainwright & Co., LLC, 993 F.3d 1097, 1106 (9th Cir.

13   2021) (citing Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258, 267 (2014)). Plaintiffs’

14   Exchange Act claims are subject to the heightened pleading requirements of the PSLRA and Rule

15   9(b), which require that Plaintiffs “state with particularity the circumstances constituting fraud,”

16   In re Van Wagoner Funds, Inc. Sec. Litig., 382 F. Supp. 2d 1173, 1183 (N.D. Cal. 2004), and “facts

17   giving rise to a strong inference that the defendant[s] acted with the required state of mind,” Zucco

18   Partners, LLC v. Digimarc Corp., 552 F.3d 981, 990-91 (9th Cir. 2009); see also In re Stitch Fix,

19   Inc. Sec. Litig., No. 18-CV-06208-JD, 2020 WL 5847506, at *2 (N.D. Cal. Sept. 30, 2020).

20   Plaintiffs’ Exchange Act claims should be dismissed because Plaintiffs fail to plead any actionable

21   materially false or misleading statement, a “strong inference” of scienter, or loss causation.

22                   1.      Plaintiffs Fail To Plead Any Materially False Or Misleading Statement Or
                             Omission
23

24           Plaintiffs’ misrepresentation claim rests on ten purported statements by Defendants

25   between February 7, 2018 and June 22, 2021, many of which predate Genesis and Plaintiffs’

26   purchases by years, and virtually all of which focus on vesting periods, lockups, and purported

27   sales by Dfinity, its founders, officers, directors, and other purported “insiders.” ¶¶ 90-92, 95-100,

28   179(a)-(j). Plaintiffs do not—and cannot—allege that any of the challenged statements were false.
                                                         9
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 1   Instead, Plaintiffs ask this Court to infer—from vague, unsupported allegations about the meaning

 2   of these excerpted statements—that the statements were somehow misleading.                  Plaintiffs’

 3   speculative inferences both defy common sense and are insufficiently particularized under the

 4   PSLRA and Rule 9(b). 6 See City of Dearborn Heights Act 345 Police & Fire Ret. Sys. v. Align

 5   Tech., Inc., 856 F.3d 605, 614 (9th Cir. 2017) (complaint must “specify each statement alleged to

 6   have been misleading [and] the reason or reasons why the statement is misleading”) (citing 15

 7   U.S.C. § 78u-4(b)(1)(B)). Plaintiffs fail to state a claim.

 8          First, Plaintiffs cannot rest their misrepresentation claim on allegations that statements by

 9   Defendants concerning lockups at the time of Genesis for the Foundation, its directors, and

10   Mr. Williams were materially false and misleading. ¶¶ 95, 97, 179(f), (i). These statements were

11   true, and Plaintiffs do not allege otherwise. Instead, Plaintiffs ask this Court to infer that these

12   statements were misleading because Defendants did not state that other individuals—including

13   former Dfinity employees—were not subject to lockups. Id. Plaintiffs’ inferential leap does not

14   give rise to a violation of the securities laws. On their face, the challenged statements are expressly

15   limited to named individuals and entities. Defendants did not state—and it is not reasonable to

16   infer from Defendants’ statements—that everyone else previously or currently associated with

17   Dfinity was also locked up. See Brody v. Transitional Hosps. Corp., 280 F.3d 997, 1006 (9th Cir.

18   2002) (“To be actionable under the securities laws, an omission . . . must affirmatively create an

19   impression of a state of affairs that differs in a material way from the one that actually exists.”).

20
        6
            Several of Plaintiffs’ alleged misstatements are inactionable puffery and, for that reason as
21   well, do not state a claim. Compare, e.g., ¶ 179(b) (“We believe in a holistic approach that engaged
22   participation from the wider community”); (d) (“Decisions are made with respect to helping the
     foundation achieve its goals rather than personal desires for more tokens . . . .”); (e) (“It is very
23   important that the flow of liquid ICP tokens around the network is released on a schedule for the
     safety and security of ICP holders, the network, and its users while the underlying technology is
24   being fettled and its ecosystem is being established.”); (h) (“DFINITY is committed to responsibly
     divesting its token allocation over time to reinvest back into the Internet Computer and
25   community.”); (j) (“Despite Seed Donors divesting their ICP tokens, it’s important to note this
26   community of early supporters helped bootstrap the Internet Computer project.”), with Police Ret.
     Sys. of St. Louis v. Intuitive Surgical, Inc., 759 F.3d 1051, 1060 (9th Cir. 2014) (dismissing “feel
27   good speak” as non-actionable puffery), and In re Terravia Holdings, 2020 WL 553939, at *5-6
     (dismissing as inactionable puffery “generalizations that provide nothing concrete upon which a
28   plaintiff could reasonably rely”).
                                                       10
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 1          For the same reason, Plaintiffs cannot state a misrepresentation claim based on

 2   Mr. Williams’ June 11, 2021 statements that the Foundation, its founders, and its directors did not

 3   sell tokens at or soon after Genesis. ¶¶ 97-98, 179(h), (i). These statements were true, and

 4   Plaintiffs do not plead facts showing otherwise. Plaintiffs merely assert that the statements were

 5   misleading, because other people or entities allegedly sold ICP tokens around Genesis. Id. But

 6   Mr. Williams did not tell the public that no one previously or currently associated with Dfinity

 7   sold at or soon after Genesis, and the Complaint is bereft of particularized allegations suggesting

 8   otherwise. See Brody, 280 F.3d at 1006. Plaintiffs cannot cobble together a securities claim by

 9   asking this Court to ignore what Defendants actually said.

10          Second, Plaintiffs’ misrepresentation claim fails because much of the information that

11   Plaintiffs claim should have been disclosed was in fact disclosed (as Plaintiffs themselves

12   acknowledge). For example, Plaintiffs allege that Defendants were required to disclose that seed

13   round participants were subject to vesting requirements. ¶¶ 90, 99-100, 179(b), (j). But Plaintiffs’

14   own Complaint (and documents incorporated by reference therein) show that this fact was

15   disclosed. At Genesis, Defendants told the public that there would be certain vesting restrictions

16   on purchasers, including on seed round and Airdrop participants. ¶¶ 70-71, 92; Orsini Decl. Ex. A

17   (May 10, 2021 Medium Post). 7 For the same reason, Plaintiffs cannot state a misrepresentation

18   claim by alleging that Defendants were required to disclose that the ICA might have access to

19   tokens at Genesis. ¶¶ 92, 95-100, 179(e)-(j). This fact was disclosed, as Plaintiffs themselves

20
        7
            Plaintiffs appear to rely on a handful of online posts by two “Dfinity representative[s],”
21   named Dukakis Tejada and Moritz Fuller, for the proposition that Defendants “repeatedly stated
22   that seed investors’ ICP would not be subject to vesting restrictions.” ¶¶ 68-70. Plaintiffs do not
     identify the job titles of these purported “representatives,” nor do they provide any other details
23   concerning their identities, their roles at Dfinity, or any control exercised by Dfinity over their
     conduct or their statements. Alleged statements by Messrs. Tejada and Fuller thus cannot be
24   attributed to Defendants. See Janus Cap. Grp., Inc. v. First Derivative Traders, 564 U.S. 135, 142
     (2011) (“For purposes of Rule 10b–5, the maker of a statement is the person or entity with ultimate
25   authority over the statement, including its content and whether and how to communicate it.
26   Without control, a person or entity can merely suggest what to say, not ‘make’ a statement in its
     own right.”). Plaintiffs therefore fail to allege that Mr. Williams or anyone else who could bind
27   Dfinity ever stated that seed donors would not have restrictions at Genesis. Indeed, Plaintiffs
     themselves appear to recognize this infirmity, as they do not include the statements by Messrs.
28   Tejada and Fuller among those for which Plaintiffs assert a claim against Defendants. ¶ 179(a)-(j).
                                                      11
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 1   allege. ¶¶ 54-56; Orsini Decl. Ex. B (Messari Report). 8 Plaintiffs cannot state a misrepresentation

 2   claim where the facts alleged in the Complaint belie their claims of an omission.

 3          Finally, Plaintiffs cannot rest their misrepresentation claim on stale statements allegedly

 4   made in 2018—more than three years before Genesis. ¶¶ 90-91, 179(a)-(d). Even if these

 5   statements were false or misleading (they are not), those made outside the class period are not

 6   actionable. See Hodges v. Akeena Solar, Inc., No. C 09-02147 JW, 2010 WL 3705345, at *2 (N.D.

 7   Cal. May 20, 2010) (“A securities class action defendant is liable only for those statements made

 8   during the class period, not statement made before or after the class period.”); Irving Firemen’s

 9   Relief & Ret. Fund v. Uber Techs., No. 17-CV-05558-HSG, 2018 WL 4181954, at *4 (N.D. Cal.

10   Aug. 31, 2018) (collecting cases). Moreover, the statements predate Plaintiffs’ alleged purchases

11   by at least three years and are too old to state an actionable claim. See Plumber & Steamfitters

12   Loc. 773 Pension Fund v. Danske Bank A/S, 11 F.4th 90, 103 (2d Cir. 2021) (holding that “no

13   ‘reasonable’ investor” would consider statements three years’ prior “in deciding how to act”).

14                  2.      Plaintiffs Fail To Plead A Strong Inference Of Scienter

15          Plaintiffs do not allege facts sufficient to “giv[e] rise to a strong inference that [Defendants]

16   acted with the required state of mind.” 15 U.S.C. § 78u-4(b)(2). To adequately demonstrate the

17   required state of mind, the Complaint must “allege that the [D]efendants made false or misleading

18   statements either intentionally or with deliberate recklessness.” Zucco Partners, 552 F.3d at 991.

19   In this Circuit, “although facts showing mere recklessness or a motive to commit fraud and

20   opportunity to do so may provide some reasonable inference of intent, they are not sufficient to

21
        8
22          Plaintiffs’ allegations that “according to a group of Dfinity’s high-level engineering
     employees in Switzerland (the ‘Swiss Engineers’) Williams [and others] . . . met to strategize the
23   Foundation’s sale of ICP at launch,” and to purportedly enable Defendants to use the ICA to evade
     lockups, ¶¶ 62, 86, are insufficiently particularized, because Plaintiffs do not plead the “who, what,
24   when, where, or how” of the Swiss Engineers’ purported reports. Where a complaint invokes
     confidential witnesses, the “plaintiffs must establish confidential witnesses’ reliability and
25   personal knowledge with sufficient particularity.” Nat’l Elevator Indus. Pension Fund v. Flex
26   Ltd., No. 21-15050, 2021 WL 6101391, at *1 (9th Cir. Dec. 21, 2021) (“To be credited as reliable,
     a witness must be in a position to personally know the information alleged.”). Plaintiffs plead no
27   particularized facts showing the Swiss Engineers’ personal knowledge of the claims attributed to
     them in the Complaint and do not otherwise establish their reliability; Plaintiffs therefore cannot
28   rely on them to support Plaintiffs’ allegations.
                                                       12
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 1   establish a strong inference of deliberate recklessness.” Id. (quoting In re Silicon Graphics Inc.

 2   Sec. Litig., 183 F.3d 970, 974 (9th Cir. 1999)). Plaintiffs fail to plead the requisite state of mind.

 3          Where, as here, Plaintiffs allege fraud by an entity (Dfinity USA and the Foundation), they

 4   must allege particularized facts to establish that an individual defendant—here, Mr. Williams—

 5   acted with the requisite state of mind. See Glazer Cap. Mgmt., LP v. Magistri, 549 F.3d 736, 745

 6   (9th Cir. 2008) (“[T]he PSLRA requires [Plaintiffs] to plead scienter with respect to those

 7   individuals who actually made the false statements . . . .”); Feola v. Cameron, No. LA CV15-

 8   01654 JAK, 2016 WL 11750382, at *7 (C.D. Cal. Aug. 25, 2016) (“[I]n all but the most unusual

 9   cases, a plaintiff may not rely upon notions of ‘collective scienter,’ i.e., that the state of mind of

10   an entity defendant for purposes of pleading scienter can be inferred from the collective knowledge

11   of some or all of its employees.”).

12          Here, Plaintiffs appear to suggest that Mr. Williams had a motive to act wrongfully because

13   he benefited from his own sales of ICP tokens. But, as discussed above, mere motive and

14   opportunity are insufficient to plead scienter in this Circuit. Moreover, Plaintiffs misleadingly

15   suggest that Mr. Williams “admitted that he sold ICP.” ¶ 188. But Plaintiffs rely only on an

16   interview from September 25, 2021—months after the end of the Class Period and months after

17   Plaintiffs themselves assert that any impact of the alleged misstatements had dissipated from the

18   market. See ¶ 112 (alleging that by late June 2021, “the price of ICP had fallen by over 94% from

19   its May 10 high”); ¶ 194(d) (alleging that price fell 40% between June 11 and June 22, 2021).

20   Plaintiffs therefore do not allege with particularity that Mr. Williams sold ICP tokens during the

21   Class Period. And, the complete absence of any ICP token sales by Mr. Williams during the Class

22   Period “negates any slight inference of scienter.” In re FVC.COM Sec. Litig., 136 F. Supp. 2d

23   1031, 1039 (N.D. Cal. 2000), aff’d, 32 F. App’x 338 (9th Cir. 2002).

24          Further, Plaintiffs cannot substitute sales by alleged “insiders”—many of whom are ex-

25   employees not alleged to have any continuing relationship with Defendants—to compensate for

26   this deficiency. See, e.g., ¶ 179(a) (the term “insiders” includes “Dfinity USA and Dfinity’s

27   current and former team members”). “Sales by insiders not named as defendants . . . are irrelevant

28   to the determination of the named defendant’s scienter.” Wozniak v. Align Tech., Inc., No. C-09-
                                                       13
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 1   3671 MMC, 2011 WL 2269418, at *14 (N.D. Cal. June 8, 2011); see also In re Splash Tech.

 2   Holdings, Inc. Sec. Litig., 160 F. Supp. 2d 1059, 1082 n.22 (N.D. Cal. 2001) (collecting cases);

 3   Hurst v. Enphase Energy, Inc., No. 20-CV-04036-BLF, 2021 WL 3633837, at *5 (N.D. Cal. Aug.

 4   17, 2021). Plaintiffs do not come anywhere close to the required showing.

 5          Plaintiffs’ allegation that Mr. Williams “knew what restrictions were imposed on [his] own

 6   tokens, as well as the tokens that [Defendants] issued and allocated to current and former team

 7   members, and to outside investors,” ¶ 185, likewise does not establish the requisite state of mind.

 8   Plaintiffs must plead “a highly unreasonable omission, involving not merely simple, or even

 9   inexcusable negligence, but an extreme departure from the standards of ordinary care, and which

10   presents a danger of misleading buyers or sellers that is either known to the defendant or is so

11   obvious that the actor must have been aware of it.” In re Silicon Graphics, 183 F.3d at 976

12   (quoting Hollinger v. Titan Cap. Corp., 914 F.2d 1564, 1569 (9th Cir. 1990)). Plaintiffs allege no

13   facts supporting the conclusion that Mr. Williams intended to defraud ICP token purchasers by

14   withholding information from the public, or that any alleged omission was so “highly

15   unreasonable” as to constitute “an extreme departure from the standards of ordinary care”

16   (particularly since Plaintiffs do not assert that statements Mr. Williams did make were false). Id.

17          Finally, Plaintiffs’ allegation that “Defendants . . . had the motive not to disclose these facts

18   after May 10, 2021, because they still hold significant amounts of ICP” and therefore purportedly

19   “had an incentive to ensure that the price of ICP remained artificially inflated,” ¶ 190, defies logic.

20   If Plaintiffs’ inference about Defendants’ motives were true, then—as Plaintiffs admit—

21   Defendants would have had no reason to disclose these allegedly concealed facts at any time.

22   ¶ 189. Yet, as Plaintiffs concede, Mr. Williams disclosed all of the allegedly concealed facts after

23   May 10, 2021. See, e.g., ¶¶ 95-97, 102. Plaintiffs’ own allegations underscore the illogic of their

24   allegations, and this Court should disregard them. Glaser v. The9, Ltd., 772 F. Supp. 2d 573, 593

25   (S.D.N.Y. 2011) (“It defies reason that an entity looking to profit on a fraudulently inflated stock

26   price would” trigger a lockup, “while knowing that the information illuminating the fraud was

27   seeping into the market.”) (emphasis in original).

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                                                       14
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 1                  3.        Plaintiffs Fail To Plead Loss Causation

 2          “Loss causation” refers to “a causal connection between the material misrepresentation and

 3   the loss.” Dura Pharms., 544 U.S. at 342. 9 Plaintiffs must plead that “(1) a corrective disclosure

 4   revealed, in whole or in part, the truth concealed by the defendant’s misstatements; and (2)

 5   disclosure of the truth caused the company’s stock price to decline and the inflation attributable to

 6   the misstatements to dissipate.” In re BofI Holding, Inc. Sec. Litig., 977 F.3d 781, 791 (9th Cir.

 7   2020)). Here, Plaintiffs cannot plead loss causation, because they fail to adequately allege any

 8   corrective disclosure.

 9          Plaintiffs point to a series of purported “partial disclosure[s],” ¶¶ 95-104, but none of these

10   alleged statements corrects, changes, or contradicts any earlier statements. See § V.A.1, supra.

11   Thus, these statements are not corrective, and cannot meet the first prong of the loss causation

12   standard. See In re Apollo Grp., Inc. Sec. Litig., 2012 WL 2376378, at *7 (D. Ariz. June 22, 2012)

13   (holding that failure to allege which statements were corrected by disclosure is fatal to a loss

14   causation claim). Indeed, Plaintiffs have not alleged “specific statements . . . that were made untrue

15   or called into question by subsequent public disclosures” or the supposed corrective disclosures.

16   Or. Pub. Emps. Ret. Fund, 774 F.3d at 608. Plaintiffs do not allege that Defendants represented,

17   at any time, that the Foundation and key team members were not locked up for a week at Genesis;

18   that the Foundation did vest itself; or that former employees were not able to sell ICP tokens.

19   Thus, statements that the Foundation was locked up at Genesis, ¶ 194(a), that the Foundation did

20   not vest itself, ¶ 194(b), and that former employees were able to sell tokens, ¶ 194(c), are not

21   “corrective.” Although Plaintiffs point to “discussions on Reddit from June 11 to June 22,” they

22   do not allege that any specific information was disclosed in those alleged discussions, state that

23   any defendant participated in those discussions, or explain how such discussions “corrected” prior

24   statements by Defendants. ¶ 194(d). Khoja v. Orexigen Therapeutics, Inc., 498 F. Supp. 3d 1296,

25   1314 (S.D. Cal. 2020) (holding loss causation not established where disclosures were not

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          In the Ninth Circuit, loss causation is subject to Rule 9(b)’s heightened pleading standard.
28   See Or. Pub. Emps. Ret. Fund v. Apollo Grp. Inc., 774 F.3d 598, 605 (9th Cir. 2014).
                                                       15
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 1   corrective). Plaintiffs’ failure to plead specific facts showing loss causation is an independent

 2   ground for dismissal. Dura Pharms., 544 U.S. at 345-46.

 3            B.     Plaintiffs’ Section 10(b) And Rule 10b-5 Claim For Alleged Market
                     Manipulation Should Be Dismissed
 4

 5            To state a claim for market manipulation under Exchange Act Section 10(b) and Rule
 6   10b-5, Plaintiffs must allege with particularity: “[i] that the defendant engaged in manipulative
 7   acts; [ii] that plaintiff suffered damage [iii] which was caused by his or her reliance on an
 8   assumption that the market was free of manipulation, and [iv] that the defendant acted with
 9   scienter.” In re Rigel Pharms., Inc. Sec. Litig., No. C 09-00546 JSW, 2010 WL 8816155, at *9
10   (N.D. Cal. Aug. 24, 2010) (citing ATSI Commc’ns, Inc. v. Shaar Fund, Ltd., 493 F.3d 87, 102 (2d
11   Cir. 2007)), aff’d, 697 F.3d 869 (9th Cir. 2012). Plaintiffs do not plead particularized facts
12   establishing either a manipulative act or scienter, and their market manipulation claim therefore
13   should be dismissed. 10
14                   1.     Plaintiffs Fail To Plead A Manipulative Act
15            Plaintiffs’ market manipulation claim rests on allegations (including “on information and
16   belief”) that Defendants: (i) purchased ICP tokens from employees in undisclosed off-market
17   transactions, ¶ 227; (ii) imposed last-minute vesting restrictions on seed participants’ ICP tokens,
18   ¶ 228; and (iii) imposed further undisclosed restrictions on other outside investors, ¶ 229. Plaintiffs
19   assert that, through these alleged acts, Defendants “reduce[d] the supply of ICP” tokens on the
20   market,” ¶ 230, providing “greater control over the price of ICP,” ¶ 78. Even accepting these
21   allegations as true, however, Plaintiffs do not plead any manipulative act with particularity.
22            As an initial matter, the term “manipulation” is “virtually a term of art,” connoting
23   “intentional or willful conduct designed to deceive or defraud investors by controlling or
24   artificially affecting the price of securities.” In re Bank of Am. Corp., No. 09-md-02014 JSW,
25   2011 WL 740902, at *7 (N.D. Cal. 2011). “Manipulation” typically refers to practices such as
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27
         10
           Plaintiffs also have the burden to plead and prove reliance and damages. Should the
     Complaint survive, Defendants will challenge Plaintiffs’ allegations and proof on these points as
28   well.
                                                       16
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 1   wash sales, matched orders, rigged prices, or pump and dump schemes, which are deliberately

 2   designed to mislead investors as to the value of a security. Desai v. Deutsche Bank Sec. Ltd., 573

 3   F.3d 931, 939 (9th Cir. 2009). In these paradigmatic examples of a market manipulation scheme,

 4   the manipulative conduct includes inherently fraudulent transactions. See Fezzani v. Bear, Stearns

 5   & Co., 716 F.3d 18, 21 (2d Cir. 2013) (pump and dump scheme sufficient to show manipulation

 6   where “purchasers were led to believe that the prices they paid were set by trading in [an]

 7   arms-length market,” rather than a market in which Defendants “create[ed] a false appearance of

 8   [trading] volume and increasing price”); Ernst & Ernst v. Hochfelder, 425 U.S. 185, 205 n.25

 9   (1976) (wash sale is fictitious transaction “involving no change in beneficial ownership”).

10           Here, Plaintiffs do not—and cannot—allege any such manipulative act. Plaintiffs do not

11   allege that Defendants (or anyone acting on their behalf) engaged in artificial trading that provided

12   any false pricing signal to the market. Indeed, as discussed above, Plaintiffs do not sufficiently

13   plead that any Defendant bought or sold ICP tokens during the Class Period. See § V.A.2, supra.

14   But to the extent Plaintiffs plead any purchases and sales during the Class Period, the Complaint

15   makes clear that any such transactions were arm’s-length transactions with independent third-party

16   purchasers, not fictitious arm-in-arm transactions designed to mislead the public. ¶¶ 138-39

17   (describing the purported class as non-insider individuals who purchased ICP tokens “in the ICO

18   and through online crypto-asset exchanges”). 11 This is fatal to Plaintiffs’ market manipulation

19   claim. See GFL Advantage Fund, Ltd. v. Colkitt, 272 F.3d 189, 207 (3d Cir. 2001) (defendant’s

20   sales did not create a false impression of supply and demand because the transactions had “real

21   buyers, betting against [defendant], however foolishly, that the price of [the] stock would rise”).

22           Plaintiffs’ market manipulation claim also fails because Plaintiffs do not allege deceptive

23   conduct. The common factor underlying a market manipulation claim is that the defendant

24   engages in deceptive conduct with the express purpose of affecting a stock’s price, without the

25
        11
26          As noted above, see § V.A.2, supra, there is no particularized allegation that Mr. Williams
     sold any ICP tokens during the Class Period. Nor are there particularized allegations that Dfinity
27   USA sold, and the only allegations concerning the Foundation are that it sold some ICP tokens at
     some point before May 24, 2021, according to an unreliable third-party report. See, e.g., ¶¶ 85,
28   179(h).
                                                      17
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 1   plaintiff’s knowledge, in order to profit from the manipulated price of that stock. As such,

 2   “nondisclosure is usually essential to the success of a manipulative scheme.” Santa Fe Indus. v.

 3   Green, 430 U.S. 462, 477 (1977). Where, as here, the allegedly manipulative conduct is fully

 4   disclosed, the market is not misled. See e.g., Bank of Am., 2011 WL 740902, at *7-9 (holding

 5   market manipulation claim could not be based on information that was sufficiently disclosed to

 6   the public); In re Merrill Lynch Auction Rate Sec. Litig., 704 F. Supp. 2d 378, 390-93 (S.D.N.Y.

 7   2010) (dismissing market manipulation claim for failure to plead manipulative activity where

 8   transaction’s terms were fully disclosed to the public).

 9          Even assuming that Defendants’ actions reduced the supply of ICP tokens on the market,

10   ¶ 230, Plaintiffs’ allegation that Defendants did so deceptively to give themselves control over the

11   available ICP tokens (and, presumably, the price), ¶ 78, does not hold water. Plaintiffs concede

12   that: (i) vesting restrictions on seed round and Airdrop participants were publicly disclosed at the

13   time of Genesis, ¶¶ 70-71, 92; and (ii) instructions to seed round participants for claiming tokens

14   likewise were disclosed, see ¶¶ 70-71. Accordingly, there was no deceptive conduct and there can

15   be no manipulation. See, e.g., Bank of Am., 2011 WL 740902, at *7-9; In re Merrill Lynch Auction

16   Rate Sec. Litig., 704 F. Supp. 2d at 390-93.

17          Similarly, although Plaintiffs allege that Defendants did not disclose their cash-in-lieu-of-

18   tokens repurchase program, ¶ 227, Plaintiffs do not plead any deception in connection with that

19   program. Indeed, absent any allegation that the market was led to believe that employees’ tokens

20   would be available in the open market during the Class Period, Plaintiffs fail to allege with

21   particularity that Defendants’ repurchases affected the price of ICP tokens or caused Plaintiffs

22   harm—the crux of a market manipulation claim. See ATSI, 493 F.3d at 100, 104-05 (dismissing

23   market manipulation claim where no “false pricing signal” or alleged impact on the market);

24   Polinsky v. MCA Inc., 680 F.2d 1286, 1290 (9th Cir. 1982) (no claim for market manipulation

25   where plaintiff was not harmed). In fact, Plaintiffs allege just the opposite. Plaintiffs contend that

26   it was not understood that Dfinity employees would be able to sell ICP tokens as of Genesis.

27   ¶ 179(a) (alleging that “Defendants were obligated to (but did not) disclose that . . . any applicable

28   vesting periods would nevertheless allow . . . Dfinity’s current and former team members[] to
                                                       18
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 1   immediately sell substantial amounts of ICP”). Accordingly, Plaintiffs cannot claim that a failure

 2   to disclose the program sent a “false pricing signal” to the market. ATSI, 493 F.3d at 100.

 3                  2.      Plaintiffs Fail To Plead A Strong Inference Of Scienter.
 4           As in their misrepresentation claim (see § V.A.2, supra), Plaintiffs have not pleaded

 5   deliberate recklessness attributable to Defendants that would support an inference of scienter. The

 6   pleading requirement for scienter “is particularly important in manipulation claims because in

 7   some cases scienter is the only factor that distinguishes legitimate trading from improper

 8   manipulation.” Hudson Bay Master Fund Ltd. v. Patriot Nat’l, Inc., 309 F. Supp. 3d 100, 119

 9   (S.D.N.Y. 2018). The entire scheme alleged by Plaintiffs is that Defendants “reduced the supply

10   of ICP” tokens and “benefit[ed] from inflated prices.” 12 ¶ 236. But, crucially, Plaintiffs do not

11   allege that Defendants sold ICP tokens at artificially inflated prices. Indeed, Plaintiffs concede

12   that the Foundation and key team members (including Mr. Williams) could not sell during the first

13   week of trading, when the price of ICP tokens was at its peak. ¶ 95. Thus, at the time when the

14   price of ICP tokens allegedly was inflated (at Genesis), neither the Foundation nor Mr. Williams

15   could benefit from such inflation, and Plaintiffs’ inference that Defendants intentionally inflated

16   the price of ICP tokens at a time when they could not sell makes no sense. See, e.g., ScripsAmerica,

17   Inc. v. Ironridge Glob. LLC, 119 F. Supp. 3d 1213, 1258-64 (C.D. Cal. 2015) (dismissing market

18   manipulation claim where plaintiff’s allegations were inconsistent with an intent to deceive);

19   Feiner Fam. Tr. v. Xcelera.com, Inc., No. 07 Civ. 1914 (RPP), 2008 WL 5233605, at *5 (S.D.N.Y.

20   Dec. 15, 2008) (granting motion to dismiss where alleged benefit was speculative).

21      12
             Plaintiffs also assert that the process by which seed donors could access their tokens at
22   Genesis was “highly technical” and “buggy,” ¶ 72, and that Defendants were “intentionally trying
     to prevent [seed donors] from accessing their ICP,” ¶ 74. To the extent Plaintiffs invoke this
23   purportedly difficult technical process to demonstrate scienter, this effort fails. An imperfect
     rollout of a revolutionary computing platform does not equal intent, or even extreme recklessness.
24   See, e.g., Orsini Decl. Ex. C (Cycle Dao (cited ¶¶ 76, 83) (“Launching a network is hard. It will
     never be perfect. Sometimes the market conditions dictate that you must launch now. In the rush
25   to deploy so many moving parts, some things get neglected: token management UX and KYC
26   processes among them. It’s easy to buy into false narratives and jump on a bandwagon. We hear
     accusations of insider trading, of misleading investors, and of the team wildly profiting from retail
27   investors – all very much attention grabbing, but very much lacking in nuance. It is ridiculous to
     say the team was negligent or acting maliciously, but certainly, we can blame them for not
28   executing the perfect launch.”).
                                                      19
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 1          C.      Plaintiffs’ Section 20A Claim Should Be Dismissed

 2          “To satisfy § 20A, a plaintiff must plead (1) a predicate violation of the securities laws;

 3   and (2) facts showing that the trading activity of plaintiffs and defendants occur

 4   contemporaneously.” SEB Inv. Mgmt. AB v. Align Tech., Inc., 485 F. Supp. 3d 1113, 1135 (N.D.

 5   Cal. 2020) (cleaned up); 15 U.S.C. § 78t-1(a). Plaintiffs fail adequately to allege a predicate

 6   violation of the Exchange Act (see §§ V.A, V.B, supra), and their Section 20A claim therefore

 7   fails as a matter of law. See In re VeriFone Sec. Litig., 11 F.3d 865, 872 (9th Cir. 1993) (holding

 8   that because plaintiffs failed to allege an actionable independent underlying violation of the

 9   Exchange Act, they could not maintain a claim under Section 20A).

10          Plaintiffs’ Section 20A claim against Dfinity USA and Mr. Williams also should be

11   dismissed on the independent ground that Plaintiffs fail to allege that either Defendant traded

12   contemporaneously with Plaintiffs. As noted above, Plaintiffs do not allege with particularity that

13   Mr. Williams or Dfinity USA sold ICP tokens at all before the end of the Class Period on June 22,

14   2021. See § V.A.2, supra. This further compels dismissal. See, e.g., SEB Inv. Mgmt., 485 F.

15   Supp. 3d at 1136 (dismissing claim because plaintiff failed to plead contemporaneous purchases).

16   VI.    Plaintiffs’ Securities Act Section 15 And Exchange Act Section 20(a) Control Person
            Claims Should Be Dismissed
17

18          To state a claim for control person liability, Plaintiffs must allege (i) a primary violation of

19   the federal securities laws; and (ii) that the defendant exercised actual power or control over the

20   primary violator. In re Energy Recovery Inc. Sec. Litig., No. 15-CV-00265-EMC, 2016 WL

21   324150, at *8 (N.D. Cal. Jan. 27, 2016). Because Plaintiffs fail adequately to plead a primary

22   violation, his control person claims should be dismissed. See, e.g., In re Rigel Pharms., Inc. Sec.

23   Litig., 697 F.3d 869, 886 (9th Cir. 2012).

24   VII.   CONCLUSION
25          For the foregoing reasons, Defendants respectfully submit that the Complaint should be

26   dismissed in its entirety. Plaintiffs’ Securities Act claims should be dismissed with prejudice,

27   because their untimeliness cannot be cured.

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                                                      20
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 1                                      Respectfully Submitted,

 2   Dated:     April 4, 2022           CRAVATH, SWAINE & MOORE LLP
 3
                                         /s/ Kevin J. Orsini
 4                                      Antony L. Ryan (pro hac vice)
                                        Kevin J. Orsini (pro hac vice)
 5                                      Lauren M. Rosenberg (pro hac vice)
                                        Worldwide Plaza
 6                                      825 Eighth Avenue
 7                                      New York, New York 10019
                                        Tel.: (212) 474-1000
 8                                      Fax: (212) 474-3700
                                        korsini@cravath.com
 9
                                        Counsel for Defendants
10

11                                      QUINN EMANUEL URQUHART & SULLIVAN
                                        LLP
12
                                         /s/ Michael E. Liftik
13                                      Michael E. Liftik (CA Bar No. 232430)
14                                      Sarah Heaton Concannon (pro hac vice)
                                        1300 I Street, Suite 900
15                                      Washington, D.C. 20005
                                        Telephone: (202) 538-8000
16                                      michaelliftik@quinnemanuel.com
17                                      sarahconcannon@quinnemanuel.com

18                                      Emily C. Kapur (CA Bar No. 306724)
                                        555 Twin Dolphin Dr., 5th Fl.
19                                      Redwood Shores, California 94065
                                        Telephone: (650) 801-5000
20
                                        emilykapur@quinnemanuel.com
21
                                        Brenna Nelinson (pro hac vice)
22                                      51 Madison Avenue, 22nd Floor
                                        New York, New York 10010
23                                      Telephone: (212) 849-7000
24                                      brennanelinson@quinnemanuel.com

25

26                                      Counsel for Defendants
27

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                                         -21-
       DEFENDANTS’ MOTION TO DISMISS AND MEMORANDUM OF POINTS AND AUTHORITIES IN
                                        SUPPORT
                                 CASE NO. 3:21-CV-06118-JD
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 1   CRAVATH, SWAINE & MOORE LLP
     Antony L. Ryan (pro hac vice)
 2   Kevin J. Orsini (pro hac vice)
 3   Lauren M. Rosenberg (pro hac vice)
     Worldwide Plaza
 4   825 Eighth Avenue
     New York, New York 10019
 5   Tel.: (212) 474-1000
     Fax: (212) 474-3700
 6   aryan@cravath.com
 7   korsini@cravath.com
     lrosenberg@cravath.com
 8
     QUINN EMANUEL URQUHART & SULLIVAN LLP
 9   Michael E. Liftik (CA Bar No. 232430)
     Sarah Heaton Concannon (pro hac vice)
10   1300 I Street, Suite 900
     Washington, D.C. 20005
11
     Telephone: (202) 538-8000
12   michaelliftik@quinnemanuel.com
     sarahconcannon@quinnemanuel.com
13

14   Counsel for Defendants Dfinity USA Research LLC, Dfinity Foundation, and Dominic Williams

15                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
16

17   DANIEL VALENTI, Individually and On Behalf          Case No.: 3:21-cv-06118-JD
     of All Others Similarly Situated,
18                                                       [PROPOSED] ORDER GRANTING
                                Plaintiff,               DEFENDANTS’ MOTION TO
19                                                       DISMISS
               v.
20

21   DFINITY USA RESEARCH LLC, DFINITY
     FOUNDATION and DOMINIC WILLIAMS,
22
                                Defendants.
23

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                    [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS
                                     CASE NO. 3:21-CV-06118-JD
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 1          Pending before the Court is Defendants Dfinity USA Research, LLC, Dfinity Foundation,

 2   and Dominic Williams’ (together, “Defendants’”) Motion to Dismiss the Complaint brought by

 3   Plaintiff Daniel Valenti and Lead Plainiff Henry Rodriguez (together, “Plaintiffs”). After full

 4   consideration of the moving and opposing papers of each party, the arguments of counsel, and all

 5   other matters presented to the Court, IT IS HEREBY ORDERED that Defendants’ Motion to

 6   Dismiss is GRANTED. Plaintiffs’ Complaint is dismissed with prejudice under Federal Rule of

 7   Civil Procedure 12(b)(6) for failure to state a claim.

 8          IT IS SO ORDERED.

 9

10   Dated: ____________________, 2022

11                                                            ____________________________________
                                                              Honorable James Donato
12                                                            United States District Judge
13                                                            Northern District of California

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                     [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS
                                      CASE NO. 3:21-CV-06118-JD
